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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                         CR-10-24-GF-BMM

       Plaintiff,
                                                        ORDER
vs.

 TYRELL JOHN T.J. CONNOR,

       Defendant.



      The Court referred this case to United States Magistrate Judge Keith Strong

for a revocation hearing and findings and recommendations. Judge Strong entered

findings and recommendations on May 21, 2014. Doc. 128.

      The United States charged Tyrell John T.J. Connor (Connor) with violating

his supervised release conditions by failing to report for urinalysis testing and

failing to complete substance abuse treatment. Connor admitted to the violations.

Judge Strong found the admission sufficient to establish the supervised release

violations. Judge Strong recommended that this Court revoke Connor’s supervised


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release and commit him to the custody of the United States Bureau of Prisons for a

term of imprisonment of six months, with 54 months of supervised release to

follow. Judge Strong further recommended that Connor reside in a pre-release

facility for the first six months of the supervision period.

      This Court reviews Judge Strong’s findings and recommendations for clear

error. McDonnell Douglas Corp. v. Commodore Bus. Mach, Inc., 655 F.2d 1309,

1319 (9th Cir. 1981). This Court finds no clear error in Judge Strong’s Findings

and Recommendations, Doc. 128, and adopts them in full.

      IT IS HEREBY ORDERED that Judge Strong’s Findings and

Recommendations, Doc. 128, are ADOPTED.                  Judgment shall be entered

accordingly.

      DATED this 5th day of June, 2014.




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